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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                  4:10CR3052
                                         )
             V.                          )
                                         )
MY TAN CAO,                              )       MEMORANDUM AND ORDER
                                         )
                    Defendants.          )
                                         )


       I am in receipt of a report from the United States Department of Justice, Federal
Bureau of Prisons, Metropolitan Correctional Center issued pursuant to my
Memorandum and Order of March 10, 2011 (filing no. 52) requesting an opinion on
the defendant’s competency to stand trial and to assist counsel. In short, the experts
conclude that the defendant is competent. Accordingly,

      IT IS ORDERED that:

      1.     The Clerk shall file the report as a restricted document and make copies
             available to counsel.

      2.     On or before 5:00 P.M. on Friday, June 17, 2011, counsel for either
             party may file a motion contesting the findings and conclusions of the
             report or requesting a hearing. If such a motion is filed, the undersigned
             will take such as action as may be appropriate.

      3.     If no motion is filed within the time provided in paragraph 2, the
             undersigned will issue an order concluding that the defendant is
             competent to stand trial and to assist counsel.
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    4.    My chambers shall call this matter to my attention on Monday, June 20,
          2011.

    DATED this 6th day of June, 2011.

                                   BY THE COURT:

                                   Richard G. Kopf
                                   United States District Judge




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